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UNITED STATES DISTRICT COURT

WESTERN DISTRICT OF LOUISIANA

SHREVEPORT DIVISION
WILLIAM DEAN TUGGLE, SR. * SUIT NUMBER
VERSUS *JUDGE
DAVID F. DIES, M.D., *MAGISTRATE JUDGE
EUSTACE L. EDWARDS, M.D.
And LOUISIANA MEDICAL

MUTUAL INSURANCE COMPANY

 

ORIGINAL COMPLAINT

 

NOW INTO COURT, through undersigned counsel, comes WILLIAM DEAN
TUGGLE, SR., a major domiciliary of Waskorn, I-Iarrison County, Texas, who, with

respect represent:

Made defendants herein are:

(a) DAV[D F. DIES, M.D. (“Dr. Dies”), a physician licensed to practice medicine
and doing business in the State of Louisiana, Whose principal place of business
is in Caddo Parish, Louisiana, Who may be served at, 3217 Mabel Street,
Shreveport, Louisiana 71 103;

(b) EUSTACE L. EDWARDS, M.D. (“Dr. Edwards”), a physician licensed to
practice medicine and doing business in the State ofLouisiana, Whose principal
place of business is in Caddo Parish, Lcuisiana, who may be served at, 8001
Youree Drive, Shreveport, Louisiana 71115; and

(c) LOUISIANA MEDICAL MUTUAL INSURANCE COMPANY, a domestic
insurer domiciled in the Parish of Jefferson, State of Louisiana, with an office

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in Caddo Parish, Louisiana, who may be served at 900 Pierremont Road, Suite
203, Shreveport, Louisiana 71106.

2.

This Court hasjurisdiction over the lawsuit under 28 U.S.C. § 1332 because the
Plaintiff and the Defendants are citizens of different states and the amount in controversy
exceeds $75,000.00, excluding interest and costs.

3.

Venue is proper with this Honorable Court because two of the Defendants reside

herein and the incident(s) complained of occurred herein in Caddo Parish, Louisiana.
4.

Plaintiff shows that the defendants herein are liable for any and all damages as are
reasonable in the premises.

5.

The amount of damages sought herein are sufficient to establish jurisdiction in this
Court, and should include legal interest thereon from January 23, 2012, the date the
request for the Medical Review Panel was submitted, until paid and for all costs of these
proceedings

6.

Plaintiff further shows that a claim letter dated January 23, 2012, was filed against
the defendants, DAVID F. DIES, M.D., and EUSTACE L. EDWARDS, M.D., and
received by the Cornmissioner of Administration on February l, 2012, pursuant to the

Louisiana Medical Malpractice Act (“Hereinafter referred to as the “Act”). Plaintiff

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shows that he Was notified by the Commissioner of Administration on February 1, 2012
that the defendants, DAVID F. DIES, M.D., and EUSTACE L. EDWARDS, M.D., are
qualified and do have coverage in the Patient’s Compensation Fund under the provisions
of Louisiana Revised Statutes 40:1299.41, et seq. A Medical Review Panel rendered an
Opinion on July 23, 2013, in accordance with the Act.

7 .

Plaintiff was a 70 year-old male and on or about January 24, 2011, he presented to
Defendant Dr. David F. Dies at the Shreveport Endoscopy Center in Shreveport,
Louisiana, and underwent a colonoscopy with Dr. Dies at 08:20 a.m. due to high risk for
colon cancer and personal history of colon polyps.

8.

The colonoscope was introduced through the anus and advanced to the cecum. Dr.
Dies’ records reflect that the colonoscopy was extremely difficult due to the mobility of
the colon, and that successful completion of the procedure was aided by withdrawing the
scope, replacing it with the pediatric endoscope, and reinserting the scope.

9.

Dr. Dies found a somewhat rigid recto-sigmoid compatible with intra-abdominal
adhesions and multiple small-mouthed diverticula in the sigmoid colon. According to Dr.
Dies, the diverticular structuring in the sigmoid necessitated the need for a pediatric

endoscope.

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10.

Post-procedure, Plaintiff was in immediate extreme pain as soon as he awoke nom
anesthesia and was experiencing severe nausea. Despite these complaints, Plaintiff was
not evaluated by Dr. Dies or his staff and was instead rushed out of the recovery room
and forced to leave, only 30 minutes after the procedure was over.

11.

At 12110 p.m. that same day, Plaintiff presented to the Emergency Room at Willis-
Knighton Medical Center with complaints of abdominal pain, nausea, and vomiting that
started suddenly after having the colonoscopy. A physical exam showed the abdomen
was soft without masses, tenderness, guarding, or rebound. Bowel sounds were present.
Plaintiff rated the pain on a scale of` 10/10. He was medicated with Dilaudid and Zofran.

12.

Defendant Dr. Edwards ordered an x-ray for Plaintiff, Which was taken at 01:09
p.m. and showed gaseous distention of the bowel. There was gas identified throughout
the large bowel, small bowel, and down into the rectum. Dr. Edwards discharged
Plaintiff with a diagnosis of abdominal pain thought secondary to gas, and chronic nausea
and vomiting with exacerbation Plaintiff ‘s pain and nausea continued throughout the
rest of the day and night.

13.

Early next morning, on January 25, 2011, Plaintiff was taken to the Emergency

Room at Willis-Knighton North and was admitted at 12:40 p.m. with complaints of pain

in the abdomen and buttocks on a scale of 10/10. Plaintiff was immediately diagnosed

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with a perforated sigmoid colon and was prepared for a first stage Hartmarm procedure
with resection of the sigmoid colon, creation of a Hartmann’s pouch, and end colostomy.
Dr. William Norwood performed the surgery and found quite a bit of loose liquid fecal
contamination in the pelvis from the perforated colon. The colon was matured and
Sutured, and a colostomy bag was applied. The CT of the abdomen and pelvis revealed
free air throughout the abdomen with no obstruction or bowel wall thickening noted, no
abnormal fluid collections noted, prior to cholecystectomy.
14.

The colostomy procedure Went well, but Plaintiff then suffered complications
postoperatively. He had problems with chronic renal disease and renal insufficiency, and
was kept in the ICU for a few days. Once his condition stabilized, he was moved to a
ward where he stayed until discharge on February 4, 2011.

15.

The failure of Dr. Dies to assess Plaintiff postoperatively, and the delay between
Dr. Edwards’s x-ray of 12:10 p.m. on January 24, 2011, and his ultimate diagnosis on a
12:40 p.m. on January 25, 2011, was greater than 24 hours and directly resulted in many
of Plaintiff’s problems. Had the CT scan been performed or the perforation diagnosed
and treated on January 24, 2011, Plaintiff would have had an opportunity for a quicker
and more complete recovery and avoided a long hospital stay, as well as a better end

result for his future.

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16.

As a direct and proximate result of the aforestated substandard care, Plaintiff has
suffered physical pain and suffering, mental anguish and distress, permanent disability,
loss of enjoyment of life, medical bills and an increased likelihood of future problems
and additional medical bills in the future.

17.

The aforestated actions of the defendants, DAVID F. DIES, M.D., and EUSTACE
L. EDWARDS, M.D., fell below the medical standard of care and duty owed to plaintiff
and plaintiff is entitled to be fully compensated for all losses, injuries, and damages
which he has suffered as a result of the aforestated medical malpractice of defendants,
DAVID F. DIES, M.D., and EUSTACE L. EDWARDS, M.D.

18.

Plaintiff shows that he complied with the provisions of the Louisiana Medical
Malpractice Act by submitting this case in a timely and appropriate fashion to a medical
review panel.

19.

At the time of the events sued upon, defendants, David F. Dies, M.D. and Eustace
L. Edwards, M.D., were insured and indemnified for acts of medical negligence by
Louisiana Medical Mutual Insurance Company (LAMMICO), named as a defendant

herein.

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20.

Plaintiffs asserts their rights under the Seventh Amendment to the U.S.
Constitution and demand, in accordance with Federal Rule of Civil Procedure 38, a trial
by jury on all issues.

21.

Plaintiff is entitled to be fully and completely compensated for all losses, injuries,
and other damages caused by any substandard medical or surgical care on the part of the
defendant

WHEREFORE, PLAINTIFF, WILLIAM DEAN TUGGLE, SR., prays that the
defendants, DAVID F. DIES, M.D. and EUSTACE L. EDWARDS, M.D., be duly served
with a certified copy of the above and foregoing petition for damages and be cited to
appear and answer same.

PLAINTIFF, WILLIAM DEAN TUGGLE, SR., further prays that, after due
proceedings had that there be judgment in his favor and against the defendants, DAVID
F. DIES, M.D. and EUSTACE L. EDWARDS, M.D., in a sum sufficient to fully and
completely compensate plaintiff for all losses, injuries and other damages Which he has
suffered as a result of his substandard care with legal interest thereon from the date of the
filing of the original claim pursuant to the provisions of the Louisiana Medical
Malpractice Act until paid and all costs of these proceedings, including the fees of any
expert witnesses that may be called to testify on behalf of the plaintiffs at the trial of this
matter, and for all orders and decrees necessary and proper, considering the premises.

PLAINTIFF, WILLIAM DEAN TUGGLE, SR., further prays for full, general and

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equitable relief.

Respectfully submitted,

/s/Patrick R. Jackson

Patrick R. Jackson

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Louisiana Bar No. 25722

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